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                      EXHIBIT A
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 Separated Children Placed in Office of Refugee Resettlement Care
 Why OIG Did This Review                        What OIG Found

 In the spring of 2018, the Department of          In the summer of 2017, prior to the formal announcement
 Justice (DOJ) and Department of                    of the zero-tolerance policy, ORR staff and officials
 Homeland Security (DHS) implemented a              observed a steep increase in the number of children who
 “zero-tolerance policy” for certain                had been separated from a parent or guardian by DHS
 immigration offenses. As a result, DHS             (“separated children”) and subsequently referred to ORR
 separated large numbers of alien families,         for care.1 Officials estimated that ORR received and
 with adults being held in Federal                  released thousands of
 detention while their children were                separated children           Key Takeaway
 transferred to the care of the Office of           prior to a June 26,          The total number of children
 Refugee Resettlement (ORR) within the              2018, court order in         separated from a parent or
 Department of Health and Human                     Ms. L v. ICE that            guardian by immigration
 Services (HHS).                                    required ORR to              authorities is unknown.
                                                    identify and reunify         Pursuant to a June 2018 Federal
 On June 26, 2018, in a class action lawsuit,
 Ms. L v. U.S. Immigration and Customs
                                                    certain separated            District Court order, HHS has
 Enforcement (ICE), a Federal District Court
                                                    children in its care as      thus far identified 2,737 children
 ordered the Federal Government to
                                                    of that date.                in its care at that time who were
 identify and reunify separated families                                         separated from their parents.
                                                   In July 2018, ORR
 who met certain criteria.                                                        However, thousands of children
                                                    certified a list of 2,654
                                                                                  may have been separated
 Given the potential impact of these                children that ORR
                                                                                  during an influx that began in
 actions on vulnerable children and ORR             believed to be
                                                                                  2017, before the accounting
 operations, the Office of Inspector                separated from
                                                                                  required by the Court, and HHS
 General (OIG) conducted this review to             parents who met the
                                                                                  has faced challenges in
 determine the number and status of                 Ms. L v. ICE class
                                                                                  identifying separated children.
 separated children (i.e., children                 definition. ORR
 separated from their parent or legal               determined that an
 guardian by DHS) who have entered ORR              additional 946 children had some indication of separation
 care, including but not limited to the             in one or more data sources used to compile the certified
 subset of separated children covered by            list but did not meet all criteria for inclusion at that time.
 Ms. L v. ICE. In a separate review, OIG is        Between July and December 2018, ORR staff received new
 examining challenges that ORR-funded               information indicating that some children who had been
 facilities have faced in reunifying
                                                    in ORR’s care as of June 26, 2018, and whom ORR had not
 separated children. On the basis of those
                                                    included on the certified list had, in fact, been separated
 findings, OIG plans to recommend
                                                    from a parent. In October and December 2018, ORR
 solutions to improve ORR program
                                                    conducted formal reviews that resulted in adding 162
 operations.
                                                    children to the list reported to the Ms. L v. ICE court; ORR
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 How OIG Did This Review                                 also determined that 79 previously reported children had
                                                         not actually been separated from a parent, for a new total
 We analyzed HHS internal data and
                                                         of 2,737 separated children of class members.
 reviewed court filings and other public
 documents. We also conducted multiple                  From July 1 through November 7, 2018, ORR received at
 interviews with HHS senior leadership,                  least 118 children identified by DHS as separated when
 agency officials, and staff.                            referring the child to ORR care. However, DHS provided
                                                         ORR with limited information about the reasons for these
                                                         separations, which may impede ORR’s ability to determine
                                                         appropriate placements.

                                                    What OIG Concludes
                                                        HHS faced significant challenges in identifying separated
                                                         children, including the lack of an existing, integrated data
                                                         system to track separated families across HHS and DHS
                                                         and the complexity of determining which children should
                                                         be considered separated. Owing to these and other
                                                         difficulties, additional children of Ms. L v. ICE class
                                                         members were still being identified more than five
                                                         months after the original court order to do so.
                                                        It is not yet clear whether recent changes to ORR’s
                                                         systems and processes are sufficient to ensure consistent
                                                         and accurate data about separated children, and the lack
                                                         of detail in information received from DHS continues to
                                                         pose challenges.
                                                        OIG encourages continued efforts to improve
                                                         communication, transparency, and accountability for the
                                                         identification, care, and placement of separated children.




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BACKGROUND
Exhibit 1. Family Separation                 ORR Care of Unaccompanied Alien Children (UAC)
and Reunification: Key Events
                                             ORR, a Program Office of the Administration for Children and Families (ACF)
                                             within HHS, manages the UAC Program. A UAC is a minor who has no
         April 2017
         Attorney General issues             lawful immigration status in the United States (U.S.) and does not have a
         memorandum prioritizing             parent or legal guardian in the country available to provide care and
         prosecution of immigration          physical custody.2 ORR funds a network of over 100 shelters for UAC; these
         offenses
                                             facilities provide housing, food, medical care, mental health services,
         July 2017                           educational services, and recreational activities.
         El Paso sector of CBP
         implements policies resulting       Federal law requires the safe and timely placement of UAC in the least
         in increased family                 restrictive setting that is in the best interest of the child.3 ORR is also
         separations
                                             charged with identifying suitable “sponsors” living in the U.S. who can care
         February 2018                       for the child when he or she leaves ORR custody. Most sponsors are a
         Ms. L v. ICE lawsuit filed
                                             parent or close relative of the child.4 Where no appropriate sponsors are
         April 2018                          found, children remain in ORR custody and may be placed in long-term
         Attorney General issues             foster care, including community-based foster care or a group home.
         memorandum instituting
         zero-tolerance policy
                                             Children who turn 18 years old while in ORR care are transferred to DHS
                                             custody.5 Regardless of where they are placed, UAC await judicial resolution
         May 2018
                                             of their immigration status.
         Attorney General gives
         speech reiterating DHS and          The majority of children referred to ORR have surrendered to or been
         DOJ implementation of zero-
         tolerance policy
                                             apprehended by immigration authorities while entering the U.S. without a
                                             parent or legal guardian. However, some children are referred to ORR after
         June 2018
                                             being separated by DHS from a parent or legal guardian with whom the
         President issues Executive
         Order directing DHS to              child arrived. Historically, these separations were rare and occurred because
         detain alien families together      of circumstances such as the parent’s medical emergency or a
         June 2018                           determination that the parent was a threat to the child’s safety.6 ORR is not
         Judge Sabraw orders Federal         a law enforcement agency and has no role in the decision to separate
         Government to cease certain         families or prosecute immigration law violations.
         family separations and
         reunite eligible families
                                             Federal Policies Resulting in Family Separation
         July 2018
         HHS certifies list of 2,654         In recent years, the Department of Justice (DOJ) and DHS have taken a
         separated children of               variety of actions to increase enforcement of immigration laws. (See
         potential class members to          Exhibit 1.) On April 11, 2017, the Attorney General issued a memorandum
         be reunified
                                             instructing Federal prosecutors to prioritize prosecution of certain
         October 2018                        immigration offenses.7 From July through November 2017, the El Paso
         HHS adds 13 children to the
                                             sector of Customs and Border Protection (CBP), an agency within DHS,
         list reported to the Court
                                             implemented new policies that resulted in 281 individuals in families being
         December 2018
                                             separated.8 On April 6, 2018, the Attorney General formally instituted a
         HHS adds 149 children to the
         list reported to the Court          “zero-tolerance policy” for offenses under 8 U.S.C. § 1325(a), which
 Source: OIG Analysis of Memoranda, Court
                                             addresses attempts by an individual who is not a U.S. citizen to enter the
 Filings, and Other Public Documents, 2018   country at an improper time or place.9 The Attorney General described this

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                                    policy in a May public speech, announcing that DHS was now referring all
                                    adults making illegal Southwest Border crossings to DOJ for prosecution
                                    and that DOJ would accept those cases.10
                                    Under these policies, when a child and parent were apprehended together
                                    by immigration authorities, DHS separated the family, with the parent being
                                    placed in the custody of the U.S. Marshals Service within DOJ to await
                                    prosecution for immigration offenses. With the detained parent unavailable
                                    to care for his or her child, the child was treated as a UAC and transferred to
                                    ORR.
                                    In June of 2018, two actions resulted in curtailment of the zero-tolerance
                                    policy. First, on June 20, 2018, the President issued Executive Order 13841,
                                    directing DHS to detain alien families together whenever ”appropriate and
                                    consistent with the law and available resources.”11 Second, on June 26, 2018,
                                    District Court Judge Dana Sabraw preliminarily enjoined the Federal
                                    Government from detaining parents in immigration custody without their
                                    minor children and required reunification of families already separated on
                                    that date, provided they met the Court’s criteria.12

                                    Ms. L v. ICE
                                    Judge Sabraw’s June 26, 2018, order was issued in response to a class action
                                    lawsuit—Ms. L v. ICE—filed in February of 2018 in Federal District Court in
                                    California. The class was defined as:
                                             All adult parents who enter the United States at or between
                                             designated ports of entry who (1) have been, are, or will be
                                             detained in immigration custody by the [DHS], and (2) have
                                             a minor child who is or will be separated from them by DHS
                                             and detained in ORR custody, ORR foster care, or DHS
                                             custody absent a determination that the parent is unfit or
                                             presents a danger to the child.13
                                    Parents are excluded from the class if they have a criminal history or
                                    communicable disease.
                                    With respect to this open-ended class, the Court preliminarily enjoined DHS
                                    from continuing to separate families, subject to certain exceptions. A
                                    preliminary injunction is a temporary order prohibiting a party from
                                    specified actions; it is intended to maintain the status quo until the issues at
                                    trial are resolved. For those Ms. L v. ICE class members who were separated
                                    from their children as of the date of the ruling, Judge Sabraw ordered the
                                    Federal Government to reunify class members with their minor children in
                                    ORR custody within 14 days for children under the age of 5 and 30 days for
                                    those aged 5-17. Reunification is not required if there is a determination
                                    that the parent is unfit or presents a danger to their child or if the parent
                                    voluntarily declines to be reunited with the child. Parties to the lawsuit file
                                    regular joint status updates with the Court describing progress of the

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                                    reunification effort and an ongoing count of the number of possible
                                    children of potential class members who have been identified, the number
                                    of children whose parents have been found to be class members, and the
                                    number of children reunified or otherwise discharged from ORR care.14

                                    HHS Efforts to Identify and Reunify Separated Children
                                    In June of 2018, no centralized system existed to identify, track, or connect
                                    families separated by DHS. Compliance with the Ms. L v. ICE court order
                                    therefore required HHS and DHS to undertake a significant new effort to
                                    rapidly identify children in ORR care who had been separated from their
                                    parents and reunify them. To facilitate this effort, the Office of the Assistant
                                    Secretary for Preparedness and Response (ASPR) led a reunification Incident
                                    Management Team within HHS, drawing on ASPR’s experience in crisis
                                    response and data management and analysis, to assist ORR in identifying
                                    and reunifying separated children.
                                    Under ASPR’s direction, HHS coordinated closely with DHS and DOJ to
                                    develop a Tri-Department Plan, submitted to the Court on July 18, 2018,
                                    which describes ongoing processes to reunify Ms. L v. ICE class members
                                    with their children. These steps include conducting and reviewing
                                    background checks of the parent, confirming parentage, assessing parental
                                    fitness and child safety, conducting a parent interview, and reuniting the
                                    family.15 This process, as directed by the Court, is a more streamlined
                                    version of ORR’s standard procedure for vetting a sponsor for a UAC. For
                                    example, ORR conducts background checks on all adults who will reside in a
                                    household with a UAC and requires a prospective sponsor to submit a
                                    Sponsor Care Plan. For Ms. L v. ICE class members, Judge Sabraw ruled that
                                    those procedures were designed for children who had entered the U.S.
                                    unaccompanied and were unnecessarily onerous when applied to parents
                                    and children who were apprehended together but separated by
                                    Government officials.16
                                    If ORR determines that a child subject to the Ms. L v. ICE reunification order
                                    cannot be reunified with the parent from whom he or she was separated
                                    (for example, due to parental unfitness or danger to the child), ORR follows
                                    its usual sponsorship procedures for UACs. For all placements, ORR
                                    prioritizes parents and close relatives when selecting sponsors.




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RESULTS
In the summer of                    According to ORR officials and staff, in the summer of 2017, staff observed a
                                    significant increase in the number and proportion of separated children (i.e.,
2017, ORR officials                 children separated from their parent or legal guardian by DHS) relative to
observed a steep                    other UACs. Staff had begun informally tracking separations in 2016,
                                    recognizing that additional information and effort was required to locate
increase in the
                                    parents of separated children. Although this tracking was not
number and                          comprehensive, it provided adequate information to alert ORR intake staff
proportion of                       to significant trends. ORR officials noted that, according to this tracking, the
                                    proportion of separated children rose from approximately 0.3 percent of all
separated children                  UAC intakes in late 2016 to 3.6 percent by August 2017.
referred from DHS
                                    The increase in separated children posed operational challenges for the
                                    UAC program. In a November 2017 email that OIG reviewed, an ORR official
                                    stated that separated children were often very young, that these younger
                                    children required placement at specially licensed facilities, and that “the
                                    numbers of these very young UAC resulting from separations has on some
                                    dates resulted in shortfalls of available beds.”
                                    Due to these operational concerns, ORR staff continued to informally track
                                    separations. For example, staff initially recorded separated children on an
                                    Excel spreadsheet if they were identified by DHS as separated at intake; this
                                    was later replaced by a SharePoint database with greater ability to
                                    incorporate information from field staff, including reports from shelters
                                    when they identified separated children in their care. However, use of these
                                    tools was not formalized in procedures, and access was limited.
                                    Overall, ORR and ASPR officials estimate that thousands of separated
                                    children entered ORR care and were released prior to the June 26, 2018,
                                    court order. Because the tracking systems in use at that time were informal
                                    and designed for operational purposes rather than retrospective reporting,
                                    ORR was unable to provide a more precise estimate or specific information
                                    about these children’s placements (for example, whether the children were
                                    released to sponsors who were relatives, sponsors who were nonrelatives,
                                    foster care, etc.). These children did not have parents covered by the court
                                    order; therefore, they were not included in the Ms. L v. ICE reunification
                                    process.17 Rather, in general, placement and release decisions would have
                                    followed the same procedures as for other UAC, i.e., ORR seeks to identify a
                                    qualified sponsor, including a parent or other close relative if one can be
                                    located and vetted in a timely way.




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In July 2018, ORR     In the absence of an existing, integrated HHS-DHS system to identify and
                      track separated families, the HHS Incident Management Team leading the
certified 2,654       reunification effort took three approaches to collecting information about
children of potential this population, with the goal of identifying every possible child of a Ms. L v.
Ms. L v. ICE class    ICE class member in ORR care as of June 26, 2018. First, an ASPR-led data
                      team (with the support of ORR, other HHS operating and staff divisions, and
members;
                      DHS sub-agencies) mined more than 60 DHS and HHS databases to identify
an additional 946     indicators of possible separation, such as an adult and child with the same
children had some     last name apprehended on the same day at the same location.18
indication of         Additionally, ORR and other HHS staff, agency officials, and senior
                      leadership manually reviewed case files for all of the approximately 12,000
separation but did    children in ORR care at that time. Finally, ORR asked all ORR-funded
not meet all criteria shelters to attest to any separated children that grantees reasonably
                                    believed to be in their care. This effort resulted in an initial list of 3,600
                                    potentially separated children, i.e., children for whom HHS found any
                                    information, in any data source reviewed, indicating that the child had been
                                    separated from a parent.
                                    On July 11, 2018, after conducting additional reviews to resolve
                                    inconsistencies, ORR certified for the Court a list of 2,654 possible children
                                    of potential Ms. L v. ICE class members.19 However, an ASPR official
                                    explained that even as ORR certified this list, some ASPR staff believed that
                                    between 50 and 100 additional children should have been included. At the
                                    same time, the Court’s deadline for reunification was only 2 weeks away and
                                    extensive effort would be needed to comply. On July 15, the ASPR team
                                    made an internal decision to accept ORR’s certification of 2,654 children,
                                    cease efforts to confirm the number of separations, and focus on the time-
                                    sensitive task of reuniting the 2,654 children with their parents.
                                    Overall, from the initial list of 3,600 potentially separated children, 946 were
                                    not included on the list that ORR certified in July. Of these, approximately
                                    300 were excluded because they had been released through normal ORR
                                    procedures between the date of the Court order (June 26, 2018) and the
                                    date that ORR certified the list (July 11, 2018). OIG’s analysis of ORR data
                                    showed that approximately 90 percent of these children were released to
                                    sponsors, who are usually close relatives.20
                                    ORR officials provided 3 other reasons why children may have appeared in
                                    the initial count of 3,600 potentially separated children but not the certified
                                    list reported to the Court in July:
                                           Some children were apprehended with and separated from a
                                            nonparent relative, such as a grandparent or older sibling. These
                                            children appeared on the initial list of 3,600 because CBP identified
                                            these scenarios as family unit separations. However, the Ms. L v. ICE
                                            court order applies only to separations of parents from their children.



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                                           Some children were found to have a fraudulent birth certificate or
                                            other evidence indicating that the adult with whom they were
                                            apprehended had made a fraudulent claim of parentage.
                                           Some children had conflicting or unclear information in their case file.
                                            These cases were elevated to the ORR Director, who made a
                                            determination, in consultation with senior ORR staff, as to whether
                                            the balance of evidence supported including the child on the certified
                                            list.
                                    ORR was not able to provide OIG with the specific number of children
                                    excluded from the certified list for each of the above reasons.



Between July and                    In the months after the list of 2,654 children was certified in July 2018, ORR
                                    staff became aware of new information indicating that some children who
December 2018,                      were not on the list had, in fact, been separated from a parent by DHS. In
ORR determined                      October and December 2018, ORR conducted two formal reviews of subsets
that 162 children                   of children and, as a result, added 162 children to the list reported to the Ms.
not previously                      L v. ICE court. Additionally, ORR determined that 79 children previously
                                    reported to the Court had not actually been separated from a parent;
reported should be                  accordingly, the total number of separated children of Ms. L v. ICE class
recategorized as                    members currently stands at 2,737.
possible children of                Between July and October 2018, ORR Staff Learned of “Fewer Than 50”
potential Ms. L v.                  Separated Children Not Included on the Ms. L v. ICE List. In an October
ICE class members                   interview, ORR staff stated that since July, they had sometimes received new
                                    information indicating that some children who had been excluded from the
                                    certified list for Ms. L v. ICE had, in fact, been separated from a parent by
                                    DHS. For example, in some cases, children who had not previously been
                                    willing to speak about their situations became more comfortable with
                                    shelter staff and reported that they had been separated. In other cases,
                                    parents’ legal representatives contacted ORR regarding children that they
                                    believed to be separated.
                                    ORR staff stated that as a result of this new information, between July and
                                    October 2018, they had become aware of “fewer than 50” children who had
                                    been in ORR care as of June 26 and were not included on the list reported
                                    to the Court in July, but whom ORR now believed to be separated. ORR
                                    was not able to provide an exact number or list of these children, and at the
                                    time of our interview, these children had not been formally determined to
                                    be children of class members or reported in joint status updates to the
                                    Court. However, ORR staff explained, and an ASPR official reiterated, that
                                    efforts to reunite these children with their parents were pursued on a case-
                                    by-case basis.




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                                     OIG could not determine whether the 50-100 children about whose status
                                     ASPR staff had expressed concern in July (described in the previous finding)
                                     encompassed the “fewer than 50” that ORR staff said they identified,
                                     because ORR was not able to provide a list of these children. However, an
                                     ASPR official we interviewed stated that it is likely these groups overlap.
                                     In October 2018, HHS Added 13 Children to the List Reported to the Ms. L v.
                                     ICE Court. On October 1, 2018, at the request of the HHS Office of the
                                     General Counsel (OGC), ASPR asked ORR to conduct an additional review of
                                     170 children who:
                                             had appeared on the initial list of 3,600 potentially separated
                                              children, but not the July 11 certified list, and
                                             were still in ORR care as of October 2018.
                                     ASPR, ORR, and HHS-OGC officials we spoke to cited several reasons for
                                     initiating this new review. These included continued concerns from staff
                                     regarding the accuracy of the July 2018 list of separated children reported to
                                     the Court for Ms. L v. ICE, new CBP data, and the September 2018
                                     publication of a DHS OIG report on family separations that included
                                     numbers that differed from those that HHS had reported to the Court.
                                     Based on the October review, ORR recategorized 13 additional children as
                                     possible children of potential Ms. L v. ICE class members, bringing the total
                                     to 2,667. Information about these children was first included in a joint
                                     status update to the Court on October 25, 2018.21 The following month, in a
                                     November 29, 2018, joint status update, HHS reported that it had
                                     determined that 79 of the 2,667 previously reported children had not, in
                                     fact, been separated from a parent.
                                     In December 2018, HHS Added 149 Children to the List Reported to the Ms.
                                     L v. ICE Court. On December 12, 2018, HHS reported to the Court that ORR
                                     had conducted an additional review of case management records for some
                                     children who had been in ORR’s care on June 26, 2018. According to court
                                     filings and HHS-OGC staff, the new review concerned children who:
                                             had appeared on the initial list of 3,600 potentially separated
                                              children but not the July or October lists reported to the Court, and
                                             had been released from ORR’s care on or between June 26 and
                                              October 25, 2018.
                                     Because the December 12, 2018, joint status update to the Court was filed as
                                     OIG was finalizing our report, we were unable to obtain and review any
                                     underlying data HHS relied upon in generating the update. However, we
                                     note that the joint status update was filed approximately one week after
                                     OIG first shared with HHS our draft report on this topic, including our
                                     finding that approximately 300 potentially separated children had been
                                     discharged between the date of the Court order and the date that the Ms. L
                                     v. ICE list was reported to the Court (as described on page 7).

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                                     As a result of the December review, ORR determined that 149 additional
                                     children should be re-categorized as possible children of potential Ms. L v.
                                     ICE class members, for a new total of 2,816 children reported to the Court,
                                     of whom 2,737 had been separated from a parent. ORR also determined
                                     that 11 of the 149 children had parents with criminal histories, which would
                                     have precluded reunification. Of the remaining 138 children, whose parents
                                     did not have criminal histories and so may have been eligible for
                                     reunification if identified before they were discharged:
                                             52 had been released to a sponsor who was a parent or legal
                                              guardian;
                                             71 had been released to a sponsor who was an immediate relative,
                                              such as a sibling or grandparent;
                                             9 had been released to sponsors who were distant relatives or
                                              unrelated adults;
                                             5 had been discharged through voluntary departure to their country
                                              of origin; and
                                             1 had turned 18 while in ORR’s care, which typically results in transfer
                                              to DHS custody.
                                     As of December 2018, Most Separated Children of Class Members Had Been
                                     Reunified. On December 12, 2018, HHS reported to the Court that of the
                                     2,816 possible children of potential Ms. L v. ICE class members (including 79
                                     whom HHS ultimately determined not to have been separated), 2,131
                                     children had been reunified with a separated parent, and 526 children had
                                     been released under other circumstances, typically to a sponsor. Another
                                     159 children remained in ORR care. Of these 159 children in care, 8 were
                                     categorized as children of class members and proceeding towards
                                     reunification or other appropriate discharge. ORR determined that the
                                     other 151 children in care were either not, in fact, children of class members
                                     or were otherwise not eligible for reunification. Specifically:
                                             for 95 children, the parent declined to be reunified;
                                             for 28 children, ORR determined that the child had not been
                                              separated from a parent by DHS; and
                                             for 28 children, ORR determined that the parent was unfit or posed
                                              a danger to the child.
                                     For these 151 children, ORR is pursuing placement through its usual
                                     sponsorship procedures for UAC. (See Exhibit 2 on page 11.)




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           Exhibit 2. Status of Children Included in Ms. L v. ICE Court Filings as of December 2018

                                                              




            Includes 2,737 children separated from a parent and 79 children whom HHS has determined were not separated from a parent.    As of
           December 2018, HHS continues to report to the Court on the status of all 2,816 children.
           *Includes children released to sponsors or remanded to DHS custody after turning 18.
           †Includes children found to have entered the U.S. unaccompanied, separated from a nonparent relative, or otherwise determined not to
           have been separated from a parent.
           Source: OIG Analysis of Ms. L v. ICE Court Filings, 2018




 From July 1 through                   According to ORR tracking documents that we reviewed, ORR received at
                                       least 118 children separated by DHS and referred to ORR care from July 1
 November 7, 2018,                     through November 7, 2018. This number includes only children identified
 ORR received at                       by DHS as separated at the time the child was transferred to ORR care.
 least 118 newly                       The proportion of separated children increased steadily from 0.47 percent in
 separated children;                   July 2018 to 0.91 percent in the first week of November 2018. (See Exhibit 3
 DHS has provided                      on page 12.) Overall, 0.69 percent of all ORR intakes from July 1 through
                                       November 7, 2018, were separated children. This is more than twice the
 ORR with limited
                                       rate that ORR observed in 2016, but far lower than the peak of the zero-
 information about                     tolerance policy.
 the reasons for                       The newly separated children ranged in age from under 1 year old to
 these separations                     17 years old. Of the 118 children, 82 were under the age of 13 when
                                       transferred to ORR care, including 27 who were under the age of 5.
                                       As previously noted, DHS sometimes separates children from parents for
                                       the child’s safety and well-being, such as when the parent is found to pose a
                                       danger to the child or cannot care for the child because of illness or injury.
                                       Based on our review of ORR tracking data, DHS reported to ORR that 65 of
                                       the 118 children were separated because the parent had a criminal history.
                                       In some cases, DHS did not provide ORR with details about the nature of
                                       the criminal history. Other reasons DHS provided to explain the family
                                       separation included the parent’s gang affiliation (18 children), illness or
                                       hospitalization (13 children), immigration history only (3 children), or other
                                       factors (19 children), such as a parent presenting a fraudulent passport or an
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                                     adult claiming to be a legal guardian without proof; in some cases, little
                                     detail was provided.22 The reason for separation is pertinent to Ms. L v. ICE,
                                     because the June 26, 2018, Court order preliminarily enjoined separations of
                                     parents from minor children except for specific reasons.

                                     Exhibit 3. Separated Children Referred from DHS to ORR, July 1–November 7, 2018

                                                                                           Number of
                                                                  All Children                                     Proportion of
                                                                                            Newly*
                                             Month               Entering ORR                                       Separated
                                                                                           Separated
                                                                      Care                                           Children
                                                                                            Children

                                                       July           3,864                      18                     0.47%

                                                   August             3,773                      25                     0.66%

                                              September               4,059                      29                     0.71%

                                                 October              4,339                      36                     0.83%

                                          November 1–7                 1,104                     10                     0.91%

                                                      Total           17,139                     118                    0.69%
                                     * Indicates children separated by DHS and referred to ORR care from July 1 through November 7, 2018.
                                     Source: OIG Analysis of ORR Data, 2018


                                     Incomplete or inaccurate information about the reason for separation, and a
                                     parent’s criminal history in particular, may impede ORR’s ability to
                                     determine the appropriate placement for a child. When a proposed
                                     sponsor (including a parent) has a criminal history, ORR policy is to evaluate
                                     the severity and type of crime and the length of time that has passed since
                                     the criminal act, along with any mitigating factors. ORR officials and staff
                                     noted that from a child welfare perspective, not all criminal history rises to a
                                     level that would preclude a child from being placed with his or her parent.
                                     ORR officials stated that when DHS provided insufficiently detailed
                                     explanations for a child’s separation, ORR staff would contact DHS for
                                     followup information. However, the spreadsheet we reviewed indicated that
                                     DHS did not always respond to these requests for followup information.
                                     ORR staff noted that although the spreadsheet OIG reviewed included only
                                     separations reported by DHS, ORR’s tracking procedures have evolved to
                                     incorporate information from other sources. In July 2018, ORR modified its
                                     online case management system to include an indicator that staff can use to
                                     record that a child was separated, regardless of whether that information
                                     came from DHS or was reported by a facility caring for the child. ORR staff
                                     stated that from November 2018 onward, the tracking spreadsheet would
                                     include all children with the separation indicator.
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 CONCLUSION
                                     The total number and current status of all children separated from their
                                     parents or guardians by DHS and referred to ORR’s care is unknown. As a
                                     result of the Ms. L v. ICE lawsuit, there has been an extensive public
                                     accounting of the status of 2,737 separated children whose parents meet
                                     the class definition for this litigation. HHS devoted considerable resources
                                     to this effort but faced significant challenges in identifying separated
                                     children, including the lack of an existing, integrated data system to track
                                     separated families across HHS and DHS and the complexity of determining
                                     which children should be considered separated. Owing to these and other
                                     difficulties, additional children of Ms. L v. ICE class members were still being
                                     identified more than five months after the original court order to do so.
                                     There is even less visibility for separated children who fall outside the court
                                     case. The Court did not require HHS to determine the number, identity, or
                                     status of an estimated thousands of children whom DHS separated during
                                     an influx that began in 2017 and whom ORR released prior to Ms. L v. ICE.
                                     Additionally, efforts to identify and assess more recent separations may be
                                     hampered by incomplete information.
                                     ORR staff and officials cited efforts to improve tracking of separated
                                     children, such as modifying ORR’s online case management system to more
                                     easily identify such children and creating a consolidated spreadsheet to
                                     track separated children. Maintaining accurate and comprehensive
                                     information about separated children would improve ORR’s ability to
                                     monitor for future influxes and to ensure the most appropriate placement
                                     for these particularly vulnerable children. However, it is not yet clear
                                     whether ORR’s recent changes are sufficient to ensure consistent and
                                     accurate data about separated children, and the lack of detail in information
                                     received from DHS continues to pose challenges. OIG encourages
                                     continued efforts to improve communication, transparency, and
                                     accountability for the identification, care, and placement of separated
                                     children.
                                     OIG is conducting a review to explore challenges that ORR-funded facilities
                                     have faced in reunifying separated children. On the basis of those findings,
                                     OIG plans to recommend solutions to improve program operations. In
                                     addition, OIG is engaged in multiple reviews to assess the care and well-
                                     being of children residing in ORR-funded facilities. Future work will address
                                     facilities’ efforts to protect all children in their care from harm and to
                                     provide needed physical and mental health services, including efforts to
                                     address trauma.




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                                     Agency Comments and OIG Response
                                     In its comments on OIG’s draft report, ACF stated that it generally agrees
                                     with OIG’s findings regarding the number of separated children that HHS
                                     reported to the court in Ms. L v. ICE. ACF asserted that HHS has now
                                     identified all separated children who were in ORR care when the Ms. L court
                                     issued its preliminary injunction and whose parents are potential Ms. L class
                                     members. OIG notes that HHS has revised this number several times since
                                     the initial certification to the Court in July, most recently adding 149 children
                                     in December 2018.
                                     ACF noted that the scope of OIG’s review was broader than the subset of
                                     separated children covered by Ms. L v. ICE and stated that statutes
                                     governing ORR operations do not define or require ORR to track separated
                                     children. ACF also stated that the Court has never instructed ORR to
                                     determine the number of separated children whom ORR received and
                                     discharged before the June 26, 2018, Court order.
                                     ACF stated that ORR’s processes for identifying and tracking newly
                                     separated children “are effective and continuing to improve,” citing changes
                                     to ORR’s online case management system and its case management
                                     process. In particular, ACF stated that ICE and CBP staff can now directly
                                     enter information about a child into ORR’s online case management system
                                     when referring the child to ORR, including marking a “checkbox” to indicate
                                     that a child has been separated.
                                     ACF also provided updated information regarding the number of newly
                                     separated children. Specifically, ACF stated that as of December 26, 2018,
                                     ORR has identified a total of 218 children who were separated by DHS and
                                     transferred to ORR care after June 26, 2018. OIG notes that this number is
                                     significantly higher than the 118 separated children listed in the tracking
                                     documents we reviewed for the period of July 1 through November 7, 2018.
                                     In response to OIG’s finding that DHS has provided ORR with limited
                                     information regarding the reasons for family separations, ACF offered
                                     comments with respect to family separations attributed to parental criminal
                                     history. Specifically, ACF cited the Ms. L court’s determination that parents
                                     with criminal history are not entitled to reunification and stated that ACF
                                     defers to and accepts DHS’s attestations of criminal history. ACF also stated
                                     that in cases in which DHS initially omitted confirmation of parental criminal
                                     history, DHS has provided confirmation upon request. ACF did not describe
                                     the level of detail that DHS has provided in these instances, and OIG notes
                                     that the tracking documents we reviewed in November 2018 included
                                     multiple cases in which DHS had not responded to ORR intake staff requests
                                     for additional information about a child’s separation. We further note that
                                     the utility of criminal history information is not limited to meeting the
                                     requirements of Ms. L v. ICE. ORR’s policy for assessing potential sponsors
                                     includes evaluating the severity and type of any criminal history; sufficient

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                                     detail about criminal history is therefore necessary to inform placement
                                     decisions.
                                     ACF concluded by stating that the Agency agrees with OIG that continued
                                     efforts to improve communication, transparency, and accountability for the
                                     identification, care, and placement of separated children are warranted.
                                     OIG will continue to monitor ORR operations and conduct future reviews as
                                     appropriate. (See Appendix A for the full text of ACF’s comments.)




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 METHODOLOGY
                                     We reviewed data compiled by ASPR and ORR in August, September, and
                                     November 2018 to facilitate the reunification effort, as well as followup data
                                     produced by those agencies in response to OIG requests. We analyzed
                                     these data to identify the numbers of children with certain characteristics
                                     (for example, discharge date, type of release, and inclusion on the list of
                                     children reported to the Court for Ms. L v. ICE).
                                     We reviewed ORR tracking data for children identified by DHS as separated
                                     and transferred to ORR care from July 1 through November 7, 2018,
                                     including information that DHS provided to ORR regarding reasons for
                                     family separation. We analyzed these data to determine the number of
                                     separated children recorded by ORR and the primary reasons DHS provided
                                     ORR to explain the separations.
                                     Between September and December 2018, we conducted multiple interviews
                                     with ASPR, ORR, and HHS-OGC officials and staff, and with HHS senior
                                     leadership. We conducted qualitative analysis of these interviews to identify
                                     key issues and events and to clarify our understanding of the data that HHS
                                     provided.
                                     We reviewed public documents regarding the reunification effort, including
                                     legal documents filed for Ms. L v. ICE from March through December 2018,
                                     congressional testimony by HHS and DHS officials, and relevant reports
                                     issued by DHS-OIG and GAO.


 Standards                           We conducted this study in accordance with the Quality Standards for
                                     Inspection and Evaluation issued by the Council of the Inspectors General on
                                     Integrity and Efficiency.




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 APPENDIX A
 COMMENTS FROM THE ADMINISTRATION FOR CHILDREN AND FAMILIES




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 ACKNOWLEDGMENTS
                                     Louise Schoggen, Assistant Regional Inspector General in the Baltimore
                                     regional office, served as the team leader for this study. Others in the Office
                                     of Evaluation and Inspections who conducted the study include Bahar Adili,
                                     Heather Barton, Michael Kvassay, Seta Hovagimian, and Brianna So.
                                     We would also like to acknowledge the contributions of other Office of
                                     Inspector General staff, including Laura Canfield, Blaine Collins, Abigail
                                     Cummings, Amitava Mazumdar, Diana Merelman, Mike Novello, Lyndsay
                                     Patty, and Jessica Swanstrom.
                                     This report was prepared under the direction of David Tawes, Regional
                                     Inspector General for Evaluation and Inspections.




                                     To obtain additional information concerning this report or to obtain copies,
                                     contact the Office of Public Affairs at Public.Affairs@oig.hhs.gov.

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 ENDNOTES
 1
   The term “separated children” is not defined in Federal law, and no law stipulates when a family separation must
 occur. Because there is no fixed legal definition, OIG cannot be certain that the term was used identically by all
 individuals we interviewed and in all documents we reviewed. We were advised that, in practice, ORR uses the term
 to mean children who are separated from a parent or legal guardian. The Ms. L. v. ICE class is narrower, applying
 only to children separated from a parent who meets the class definition. Where possible, we have specified the
 scope of the term as we use it throughout the report.
 2
    6 U.S.C. § 279(g)(2).
 3
    8 U.S.C. § 1232(c).
 4
    Flores v. Reno, No. 85-4544 (C.D. Cal. Jan. 17, 1997). This Stipulated Settlement Agreement sets out an order of
 priority for sponsors with whom children should be placed. The first preference is for placement with a parent,
 followed by a child’s legal guardian, then other adult relatives.
 5
    6 U.S.C. § 279(g)(2), in part, defines UAC as a child who “has not attained 18 years of age.” Also see, Office of
 Refugee Resettlement, ORR Guide: Children Entering the United States Unaccompanied, Introduction. Accessed at
 https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied on November 18, 2018.
 6
    No statute dictates the circumstances under which families must be separated upon apprehension by immigration
 authorities, and no historical records of the number or cause of family separations exist. However, the Government
 Accountability Office (GAO) reports that Border Patrol officials stated that some family separations not related to
 prosecutions of violations of 8 U.S.C. § 1325(a) have always occurred, such as in cases in which the parent could be a
 threat to the health and safety of the child or the adult may not be the child’s parent. (See GAO, Unaccompanied
 Children: Agency Efforts to Reunify Children Separated from Parents at the Border, GAO-19-163, October 9, 2018, p. 13.
 Accessed at https://www.gao.gov/assets/700/694918.pdf on November 18, 2018.) ORR staff we interviewed
 confirmed that historically, ORR had received small numbers of separated children, citing reasons such as the parent
 experiencing a medical problem that precluded caring for their child.
 7
    Memorandum for All Federal Prosecutors. Renewed Commitment to Criminal Immigration Enforcement. Office of the
 Attorney General, April 11, 2017. Accessed at https://www.justice.gov/opa/press-release/file/956841/download on
 November 18, 2018.
 8
    GAO, Unaccompanied Children: Agency Efforts to Reunify Children Separated from Parents at the Border, GAO-19-
 163, October 9, 2018, p. 14-15. Accessed at https://www.gao.gov/assets/700/694918.pdf on November 18, 2018.
 9
    Memorandum for Prosecutors Along the Southwest Border. Zero-Tolerance for Offenses Under 8 U.S.C. § 1325(a).
 Office of the Attorney General, April 6, 2018. Accessed at https://www.justice.gov/opa/press-
 release/file/1049751/download on November 18, 2018.
 10
    DOJ Office of Public Affairs, Attorney General Sessions Delivers Remarks Discussing the Immigration Enforcement
 Actions of the Trump Administration, May 7, 2018. Accessed at https://www.justice.gov/opa/speech/attorney-general-
 sessions-delivers-remarks-discussing-immigration-enforcement-actions on November 18, 2018.
 11
     Exec. Order 13841, 83 Fed Reg 29435, dated June 20, 2018, and published on June 25, 2018.
 12
    Ms. L v. ICE, No. 18-0428 (S.D. Cal. June 26, 2018) (Order Granting Plaintiffs’ Motion for Classwide Preliminary
 Injunction).
 13
    Ms. L v. ICE, No. 18-0428 (S.D. Cal. June 26, 2018) (Order Granting in Part Plaintiffs’ Motion for Class Certification)
 14
     On November 15, 2018, Judge Sabraw entered an order approving a final settlement of a portion of the Ms. L
 litigation, as well as two other cases challenging the DHS family separation practice. The settlement establishes
 procedures for how separated parents and their children may apply for asylum and ensures that those families will
 remain together pending the outcomes of immigration proceedings. The settlement did not lift the ongoing
 preliminary injunction ordered in Ms. L on June 26, 2018. Thus, the preliminary injunction against involuntarily
 separating families unless the parent is unfit or a danger to the child remains in place. Ms. L v. ICE, No. 18-0428 (S. D.
 Cal., November 15, 2018) (Order Granting Final Approval of Class Action Settlement).


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 15
    HHS, DHS, DOJ, The Tri-Department Plan for Stage II of Family Reunification, July 18, 2018. Accessed at
 https://www.hhs.gov/sites/default/files/UAC-Tri-Department-Process.pdf on November 18, 2018.
 16
    Ms. L v. ICE, No. 18-0428 (S.D. Cal. July 10, 2018) (Order Following Status Conference).
 17
    On December 14, 2018, Plaintiffs in the Ms. L case filed a motion to expand the scope of the class in that litigation to
 include parents whose separated children were released from ORR custody before June 26, 2018. As of release of this
 report, the Government has not responded to this Motion and the Court has not ruled. See Ms. L v. ICE, No. 18-0428
 (S.D. Cal. December 14, 2018) (Motion to Clarify Scope of the Ms. L Class).
 18
    According to ASPR officials, the large number of databases was primarily due to DHS’s decentralized information
 systems. For example, CBP and ICE provided ASPR with separate data, and datasets were often specific to one sector
 or office.
 19
    HHS continued to refer to “possible children of potential class members” even after the list of children was certified,
 because the Agency might later determine that some parents or children did not qualify. For consistency, OIG uses
 the same terminology in this report.
 20
    Examples of other types of releases include transfer to DHS after turning 18 and voluntary departure to country of
 origin.
 21
    The joint status update filed on October 25, 2018, states that HHS had identified and recategorized 14 children.
 However, the Agency later determined that one of those 14 was already included on the certified list reported to the
 Court in July 2018 and corrected the number to 13 in the November 8, 2018, joint status update. Ms. L v. ICE, No. 18-
 0428 (S.D. Cal. November 8, 2018) (Joint Status Report at footnote 2).
 22
    HHS-OIG has referred these data to DHS-OIG for followup as appropriate.




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